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Bradley William Monical
Sid# 7803214
2606 State St.
Salem Oregon 97310



                   IN THE UNITED STATES DISTRICT COU RT
                         FOR THE STATE OF OREGON



Bradley W Monical ,                            )
                                               )      Case No. 6:18-CV-00103-YY
                           Plaintiff,          )
                                               )      Third Ame ndm ent of
              V.                               )      Verified Civil Complaint w/
                                               )      Jury Demand 42 USC§ 1983
                                               )
Marion County,                                 )
Sheriff - Jason Myers,                         )
Marion County Jail Commander --                )
Tad Larson,                                    )
Keefe Commissary Network LLC ,                 )
Deputy Straus, Deputy Dunnbarr,                )
Deputy Frieze, Deputy McGowan,                 )
 Deputy Knospe, & Cindy Gage                    )


                            Defendants,



                                                                        ry, that he
     I Bradley W. Monical do hereby declare, under the penalty of perju
                                                                      ined in this 42
 following is true to the best of my recollection for the facts conta
                                                              tantiates all of my
 USC 1983 suit. My attached declaration with attachments subs

 claims herein.

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                                         I. Introduction




    This is a 1983 civil action filed by Pro Se plaintiff, Bradley W. Monica! ,
                                                                        C) at
currently a State prisoner of the Oregon Department of Corrections (ODO
                                                                            iffs
the Oregon State Penitentiary (OSP). This suit alleges violations to plaint
                                                                          Denial
Constitutional rights for Conditions of Confinement - Denial of exercise,
                                                                          74-MC),
of access to the courts to file valid 2255 habeas petitions (1 :17-CV-004
                                                                        -00476-
conditions of confinement claims upon the Jackson county jail (1: 17-CV

YY) and Due process violation claim by the ODOC (3:17-CV-00501-YY)
                                                                                   ies
     This suit also alleges a failure to protect claim for an assault by two deput
                                                                       that
and an accident injury caused by the defendant's neglect to fix issues
                                                                      footwear.
created an unnecessary danger to slip and fall caused by their issued

     This claim involves the denial of my First Amendment Rights to freely
                                                                           in
communicate outside of the jail facility by charging an excessive fee, and
                                                                              the
effect a tax, on both to mail first class standards envelopes - ( 2 1/2 times
                                                                     paper/
governments postage rate) and by also charging 4 times the cost% for
                                                                          ut
 per sheet - not allowing any written communication with the courts witho

 paying these taxes.
                                                                               my
      In addition these defendants refused me the ability and right to contact
                                                                                legal
 children in any way, for months, with fear of retaliation if I did so , for no


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reason. These violations occurred between 12/16/2015 to 11/23/2016.

    The final claim involving the conditions of confinement at the Marion county

jail in which the defendants both denied indoor and outdoor exercise in violation

of clearly established law and a denial of complete exercise of any merit by not

allowing any appropriate footwear to actually exercise in.

     These actions led to loss of health due to denial of exercise, multiple

bruises to my body and injury to my back caused by the defendants beating as

retal iation , loss of my ability to publish a book and loss of income due to

defendants not allowing book to be mailed out, loss of my First amendment legal

rights for lack of access to the courts for condition of confinement claim that I

was not housed on (per county policy 3215 - (21 )) and injury to my person by

inadequate slip protection and refusal of defendants to fix prior to fall and

violation of my First amendment right to communicate with my children freely, for

months causing mental and emotional damages as a result to not being able to

 contact my children without any advanced warning as to why said conversations

were being terminated .



                                             II. Jurisdiction



      This court has jurisdiction over the plaintiff's claims of violation to Federal


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Constitutional Rights under 28 USC § 1331.

    This court has jurisdiction over plaintiffs claims under 28 USC § 1334(a)(3),

in that this action seeks redress the deprivation, under color of Statements law

of rights secured by the acts of Congress providing Equal Rights of persons

within the jurisdiction of the United States.

    This court has supplemental jurisdiction over the plaintiff's State law claims

under 28 USC §1367.



                                            Ill. Parties



Plaintiff

Bradley W. Monica!
SID# 7803214
2605 State Street
Salem , Oregon , 97310


Defendant's

Marion County - :C/O Marion county counsel
P.O . Box 14500
Salem , Oregon , 97309


     Is sued in its Monell liability capacity for violating both State and Federal

laws through it's adoption of rules and institutional procedures that violate the

Constitutional rights of inmates within it's facilities under ORS 169 .076. The

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denial of exercise and access to the courts claims were both by institutional

policy and state law. Marion County, the subdivision institutions and the county

commissioners were all under the color of both State and Federal laws at all

times relevant to this action .



Keefe Commissary Network LLC (C/O Jim Perry )
13369 Valley Bid.
Fontana, CA 92335

     Is sued in its individual capacity for violating both State and Federal laws

through it's illegal profiting of both paper and U.S. prepaid postage products to

inmates at the Marion County Jail through it's contract with Marion county. The

defendants were in violation of U.S. code for the sales of these postage

products which hampered first amendment rights and equal protections rights

for charging different rates for postage for equally situated person . Th is

defendant was under the color of both State and Federal laws at all times

 relevant to this action .



 Tadd Larson :

      Was an employee of the Marion County Sheriff's Office, in charge of

 operations of it's institutional division at all times relevant to this to this suit. He

 is sued in both his personal and professional capacities for personally allowing


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county policy to be enforced that denied me of my constitutional rights of

exercise and access to the courts . He was under the color of both State and

Federal law at all times relevant to this action.




Deputy Dunnbarr:

    Was an employee of the Marion County Sheriff's Office , in charge of the

legal library in the MCSO - institutional division at all times relevant to this to this

suit. He was under the color of both State and Federal law at all times relevant

to th is action . He is sued in both his personal and professional capacities for

personally allowing county policy to be enforced that denied me of my

constitutional rights of access to the courts and first amendment rights to

communicate through the mail for valid legal conditions of confinement claims .



Deputy Frieze :

     Was an employee of the Marion County Sheriff's Office , in charge of

 monitoring inmates in the MCSO - institutional division at all times relevant to

 this to this suit. He was under the color of both State and Federal law at all

 times relevant to this action . He is sued in both his personal and professional

 capacities.


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Deputy Straus A-229

    Was an employee of the Marion County Sherif fs Office, in charge of

monitoring inmates in the MCSO - institutional division at all times relevant to

this to this suit. He was under the color of both State and Federal law at all

times relevant to this action . He is sued in both his personal and professional

capacities for violation of (ORS 160.076 (4) Not administer any physical

punishment to any prisoner at any time.)



Deputy Knospe A-236:

    Was an employee of the Marion County Sheriffs Office , acting as officer in

charge of monitoring inmates in the MCSO - institutional division at all times

relevant to this to this suit. He was under the color of both State and Federal

law at all times relevant to this action . He is sued in both his personal and

professional capacities for violation of (ORS 160.076 (4) Not adm inister any

physical punishment to any prisoner at any time.)



 Deputy McGowan A-219:

     Was an employee of the Marion County Sherif fs Office , in charge of

 monitoring inmates in the MCSO - institutional division at all times relevant to

 this to this suit. He was under the color of both State and Federa l law at all


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times relevant to this action. He is sued in both his personal and professional

capacities for violation of (ORS 160.076 (4) Not administer any physical

punishment to any prisoner at any time.)



Sheriff Jason Myers:

     Was an employee of the Marion County, in charge of directing the policy

within the jail as it pertained to inmates in the MCSO - institutional division at all

times relevant to this to this suit. The Sheriff by law was responsible as the

individual for setting jail policy that was in direct conflict with federal law and

denied prisoner rights under the constitution . He was under the color of both

State and Federal law at all times relevant to this action. He is sued in both his

personal and professional capacities for violation of (ORS 160.076 in not having

policy that allowed inmates both access to regular indoor and outdoor exercise

and the appropriate footwear to actually exercise in .)



                          IV. Exhaustion of Available Remedies.



 Exhaustion of Administrative Remedies.



      The plaintiff pursued all remedies, procedures and grievances allowed by


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                                                                      be
the defendants in this case. As only deputies on duty decide what can
                                                                      grievable.
grieved and only hand out forms if they deemed any issue qualified as
                                                                                 r for all
Plaintiff filed for Administrative reviews all the way to the jails administrato
                                                                        Tort at
issues allowed to be grieved and served the defendants with a notice of

the earliest time available.




                                            V. History


                                                                              ed
     Plaintiff was sentenced to the ODOC in July of 2011 . Plaintiff was remov
                                                                    Courts
from the physical custody of the ODOC by order of the Marion County
                                                                        to the
under ORS 135.767 on 12/16/2015. At that time plaintiff was transferred
                                                                         Marion
custody of the Marion County Sheriff, he was then under the rules of the

County Sheriff's Office(MCSO) to punish inmates/detainee's, allowed them
                                                                     al and
 under Oregon law ORS 169.076. Plaintiff was both in the MCSO physic
                                                                              Marion
 legal custody until 11/23/2016 and technically still in legal custody of the
                                                                              at
 county sheriff until 8/2017 , even though the balance of that time was spent
                                                                              belief,
 the Oregon Department of corrections physical custody. It is the plaintiff's
                                                                           still was
 absent billing or documentation facts to the contrary, that Marion County
                                                                              8/2017
 liable , under state law, for plaintiff's medical and maintenance until that


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release date from the court, at the end of a criminal proceeding .

        Plaintiff had been in the MCSO facility, and under the Oregon law ORS
                                                                        es the
169.076,(which gives the sheriff authority to punish inmates and provid
                                                                           in this
law to be followed on the housing of inmates) at the time of the incidents

suit.
                                                                           / 71
        From December 2015 - November 2016, plaintiff was locked down 22.5
                                                                             for
hours per day, double bunked in a cell of less then 50 sq ft, including area
                                                                           limited
the beds and toilet. This area could not be safely exercised in due to the
                                                                          was slick
space and sharp edges on all of the furniture and the fact that the floor

polished tile and I wasn't issued any footwear that could be used for said
                                                                           ises
exercise. Plaintiff requested shoes so that he could perform regular exerc
                                                                           jail staff
out of his cell for the 30 minutes allowed in the outside exercise area as
                                                                         area was
would not allow any type of exercise inside the jail period. The outside
                                                                     with the
concrete and and wet most of the winter, so unsafe to even walk upon
                                                                             ration
foam shower shoes the jail issued, let alone safe to exercise in. (See decla

 attachment #R - Photo of outdoor recreation shiny floor) . I was repeatedly
                                                                         court
 denied this request for shoes, as had been required by law and a direct

 injunction of the Oregon institutions for years . (See)2
                                                                                   reason why, averaging 1-2 hours per week
 1).    Most of that year priso ners were locked down 24/7 for days on end w/o any
 out of ce ll s to shower/s have/ change clothes and books.
                                                                            had previously been issued only shower
 2 ( LeMaire v. Maass, 12 F3d 1444 (9th Cir. , 1993) Although inmates
                                                                               and dangerous, the district court's
 thongs, which made exercising on the concrete floors of their cells difficult
                                                                 exercise .  The state does not dispute that
 injunction required that all inmates be issued tennis shoes for

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      After denied shoes I requested grievances, no matter the numbe r of

requests, from multip le deputi es on duty, I was denied the grieva nces forms and

told by deputi es that denial of shoes was not an allowe d grieve d issue. (no issue

was grieva ble unless the deputy on duty said it was grieva ble and gave out the

forms .)

      As a result of not being able to exerci se I gained weigh t until medic ally

obese which cause d injury to my lower back and contrib uted to a slip and fall

down the slick VC tile stairs with wet showe r shoes .(See Declar ation Attach ment

# N.1 ,N.2, N.3 & H)

       The only prison ers allowed to wear their shoes were pod worke rs or those

with medica l reason s, such as diabetics.

       As my weight increa sed my back was in consta nt pain, I could not even

walk around slowly in the allowed showe r shoes withou t bruise s formin g on the

soles of my feet and the real fear of slipping on the polishe d waxed surfac e

inside the jail and outsid e slipping on the wet or icy concre te in the outdoo r air

area .3 The lack of ability to exerci se due to no shoes , the lack of care and
                                                                              the
 concern of the county emplo yee's to follow simple law and give some shoes ,

 extrem e weight gain , caused a long term injury to my back and sciatic nerve.

 requirement.)
                                                                                                 v. Ha ll , 83 F.3d I 083 (9th Cir.
 3 Marion county jai I - outdoor area found unconst ituti onal as far back as 1996 - Keenan
                                                                 I 6' space with a roof, three concrete    walls, and a fourth wall of
    1996) "defendan ts restricted his exercise to a 8' by 21' by
                                                 on ly the top third). Keenan   produced  sufficient evidence     to proceed to trial
    perforated stee l admitting sunlight through
    on his exercise claim "



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This all caused both mental and emotional turmoil, depression and a declining

will to live.

     At first arrival to the Marion county jail I inquired staff about access to the

legal library because I had to file for both appeals and condition of confinement

claims stemming from incidents prior to my arrival to the Marion County jail.

(See attachment # D - county policy 3215 -@ (21)) I was told that I could not

use the legal library because I had a court appointed attorney. When I tried to

explain that the court appointed attorney had nothing to do with my needed

filings , I was simply told that I had all the access that they were required to

provide under the law. I asked for grievances of this and told that denial of law

library access could not be grieved because I had a lawyer and refused to give
                                                                                y
me the grievance forms. It was not until I had fired my court appointed attorne

on my criminal charges before I was allowed a single 30 minute session in the
                                                                                    at
 legal library, the library of which had no federal case law that I could even look

 for more then the 30 minutes before i was told my time was up. The only books

 allowed checked out were outdated state revised statute books, no case law.



       Upon first arrival I was informed by staff that I was not going to be allowed

 to contact my children and that if I did so I would be punished and sent to the

 disciplinary unit. When I asked for what legal reason they believed that they


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could keep me from contacting my children per a court order after my divorce,

they could not give me any valid reason. I was allowed to grieve this issue and

refused to allow to be able to contact my children for month s, through every

grievance appeal process with the stated reason being that someo ne at the

ODOC had emailed them and told them not to allow contact. After month s of

appeals and through contacting the Jail comm ander it was finally told to me that

there was no such record of disallowing me to talk to my children , by this time

my children were severely emotionally distrau ght with having not heard from me

for many months. (See Declaration attach ment# C - Grieva nce Form about

children , & # Q - direct order to not contact).



     During my stay at the Marion Count y jail I wrote multiple books for

publication . The process in order for me to write and mail out these books

required me to purchase both paper and envelo pes from Keefe Comm issary

netwo rk LLC. This same requirement was made for all legal mailings outside

the jail. I could not comm unicat e outside the jail withou t purchasing these

 products . These prepaid postage envelo pes were sold to me in violation of US

 code (See Declaration attach ment# E - U.S. Postal Code ) at a profit to both

 Keefe Comm issary network LLC and Marion county throug h it's contract (See

 Declaration attach ment# - Contract Marion Count y/ Keefe ... ), to provide


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mailing products to inmates. Both defendant's were profiting some 200% plus in

order for me to access the courts and to freely contact others through the mail.

Marion county defendants specifically would not allow me to mail out my

manuscripts in manila envelopes that could be purchased , claiming that these

could only be used for legal mail. They specifically made me purchase $.58

envelopes for $1 .29 each in order to send out my manuscripts - 6 pages per

envelope for 1200 plus pages of writing. These defendants only charged .54

cents per envelop for indigent inmates to be credited against their account, a

violation of Equal protection . In addition , these defendants charged 400 % profit

($.04 )per piece of paper and limited paper to only 20 pieces per week without

any penological justification. They again only charged indigent inmates ($.01)

per piece of the same paper. These restrictions and illegal charging of U.S.

prepaid postage envelopes hampered my contact with publishers and delayed

my being able to finish writings on time as well as interfering with my ability to

contact friends and family through the mail. Given the definition of "Indigent

Inmate " by the Marion County policy and procedures, no person whom had

$1 .00 in their account the previous 6 months,would qualify for any legal library

 materia ls or supplies to even file any thing with the court if they had allowed

 such . The entire policy at the Marion county facility was designed to deny all

 access to the courts for all legal claims except those that I was housed under for


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criminal charges.



    A month before I was to be transferred back to the ODOC on 11/23/2016, I

was returning to my cell after a shower. While walking up the stairs I slipped out

of my issued wet shower slippers and fell backwards , completing one complete

somersault and slamming my head into the upright bars and the concrete floor.

This was caused by both the unsafe shower shoes and the fact that the stairs

did not have any non slick tabs or other means to prevent such slips. The

defendants responded and did virtually nothing but a visual look for blood.

Plaintiff was then put on a bottom bunk and left there in pain , not even allowed

to eat unless he could get up to get his food tray, which he could not do on

multiple days. Later, at the ODOC , from x-rays , he learned that he had damage

to his back and issues with his sciatic nerve that did not exist in any record

before the fall.



     Two days before being transferred back to the ODOC on 11/23/2016,

 defendants lifted plaintiff up from the floor very roughly, slammed him into a

 chair, both with his arms behind his back. These rough actions re-injured or

 additionally injured plaintiffs back. This was witnessed by 50 inmates. Ten

 minutes after th is act, the defendants took plaintiff to the disciplinary unit and


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proceeded to rough up and beat plaintiff up while still hand cuffed due to a

payback for allegedly assaulting their co-worker. The ODOC staff documented

these additional injuries upon plaintiff when he was transferred to the ODOC to

protect themselves. (See Declaration attach ment# F - ODOC pictures)




                                  VI. Statement of Claims



Claim 1. Access to the Courts



Defendants : Marion County, Jason Myers , Tad Larson and Officer Dunnbarr,

Keefe Commissary Network LLC , through their acts and or omissions and both

in their failure to apply ORS- 169.076 Standards for local correctional facilities

and/or applying unconstitutional jail policy and procedures illegally, denied

plaintiff access to the courts under the privileges and immunities clause of Article
                                                                 th
IV of the Constitution , the amendment petition clause and the 14 amendment
                                                                               st
equal protections and due process clauses of the US constitution . Along with 1

and 6th amendment issues.




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Supporting Facts :



    On December 16, 2015 plaintiff was transferred and housed at the Marion

county jail (MCJ) and remained their until 11/23/2016. Upon arrival to the county

facility I immediately inquired about accessing the legal library because I had

been in the process of filing multiple actions for criminal post conviction reliefs

on two separate convictions. One post conviction was out of Coos County

Oregon , for case# 11 CR058 , the other post conviction was out of Jackson

County Oregon , for case# 113373FE . In addition , I believed I had a claim

against the Oregon Department of Corrections , that I was later able to file when

returned to the ODOC for case# 3: 17 -CV- 00501-YY. I also believed that I had

a case against the Jackson County Sheriff that I was attempting to file , which I

later did when returned to the ODOC , for case# 1: 17-CV-004 76-YY. Finally I

had a Federal 2255 to file on U.S v Monical, case# 1:17-CV-00474-MC , which I

also was able to file once returned to the ODOC. All of my paperwork had been

put into storage at the ODOC prior to transfer to the Marion county jail so I had

no information to start the processes no case numbers , no forms and needed

both information and legal assistance to file these valid legal claims .

     I had statute of limitations deadlines on all of these filings . I needed access

 to the legal library and any available legal assistance, as I had zero knowledge


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of how to proceed on these legal matters or how to file all of these in the

appropriate courts in the appropriate way. At the time there was not a single

notice posted or any information available in the C5 unit with regards to how to

access , requests for legal materials nor how to question what, if any, legal library

resources might be available . At no time during my 11 month stay was there

ever information made available to inmates about the law library. There was not

a single person in the entire unit of 100 people whom was ever allowed to go to

the supposed legal library. This is supported by the declarations of persons who

were housed there at the time, Alex Eldabba , Brian Eller, Forest Frost, Daniel

Thompson and Thomas Wood .



      In addition to the legal issues I arrived at Marion County needing to

address , on or about 12/20/2015, I was notified by an Officer Susse that he had

been sent an email telling him to tell me that I was not allowed to contact my

children in any way or I would be punished and sent to the disciplinary unit. At

this time I had a court ordered , joint custody arrangement with my ex-spouse,

 made during my confinement , for my three children and knew that no one could

tell me I could not communicate with my children unless there had been a court

 order that I was unaware of.

      Keeping in contact with my children was extremely important due to the


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trauma they faced upon my conviction , I needed to immediately address this

denial to communicate with my children with the courts .

     I sent a "Kyte" to the legal librarian Sgt. Dunnbarr requesting both

assistance with my possible children's custody issues , which seemingly were

keeping me from contacting my children . I sent additional kytes requesting help

with all of the criminal and federal civil filings and that I needed law library

access because of the to statute of limitations I was facing as I had no idea how

long I would be housed at the Marion County facility. I was told that I could not

have access to the legal library due to the fact that I had an assigned lawyer

from the court on the charge I was being housed on and that my other claims

were not for issues arising out of my current confinement , and that family civil

law matters were not required to be addressed at all period . (See Declaration

attach ment# D - Marion County Policy and Procedures - 3215 - Law Library

@ 5,7,21 ). I attempted to explain in person to Sgt Dunnbarr when he was on

the unit that my criminal attorney would not help or represent me on matters that

he was not assigned by the court and that I needed to file these matters now as

 I did not know how long I was going to be at the MCJ . Sgt. Dunnbarr simply

 repl ied that he was not required by law or allowed by jail policy to offer any legal

 assistance and that if I wanted more clarification that I should write to the jail

 commander and sheriff.


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     On or about 01/01/2016, I wrote to both the jail commander and the sheriff

about the legal library policy and my need to use the facilities and needs for

legal assistance, neither replied back. I asked for and was denied grievance

forms from all of the staff unit deputies because they informed me that law

library denial was not a grievable issue as no one went to the law library

anymore.



     As of this date. Both of my post conviction relief filings were denied for

being filed beyond the statute of limitations, resulting in 5 year increase to my

overall sentence out of Coos County, case# 11 CR0581 , and a potential 10 year

increase to total prison sentence out of Jackson County, case# 113373FE. If it

had not been but for the policies of these defendants in denying me legal

assistance and access to the legal library in order to find out how to file a post

conviction , I would have been able to file my post convictions with in the 2 year

statute of limitations requirements , as I had been denied this same access to the

courts while house at the Jackson county jail.

      These were lawful convictions and I was not wanting to challenge the

convictions but file post convictions for ineffective assistance of counsel that

 resulted in the incorrect sentences being applied in these cases. I wanted my

 right to post conviction relief.


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                                                                         by
    My direct appeal for Jackson County, case # 113373FE was never filed
                                                                           tion ,
my attorney so my post conviction time to file expired 2 years from convic
                                                                    y jail
which was June of 2016, 7 months of which I was at the Marion count
                                                                       ty, case #
facil ity and not allowed to file upon. My direct appeal for Coos Coun
                                                                      ance nor
11 CR0581 ended in Septe mber of 2013. I was not allowed legal assist
                                                                            y jail
acces s to the courts to file my post conviction while at the Jackson count
                                                                     the 11
and needed to do so immediately upon leaving that confin emen t, for
                                                                          The
months while at the Marion county jail I was not allowed this assistance.
                                                                           ed
denial of legal assistance and acces s to the law library to do the requir
                                                                        these rights
research to file these post convictions directly resulted in my lose to

due statute of limitations violation.



     On Septe mber       r h2017, Judge Ann Aiken , on       case # 1: 17 - CV- 00476 -YY,

                                                                         ruled that a
the case that I was able to file after leaving the defen dants custo dy,
                                                                            months of
portion of the filed suit was time barred by the statute of limitations, 11
                                                                     ff Myers ,
which was directly due to MCJ policy and the other defendants, Sheri
                                                                           s to the
 Dunn barr and Larson , following that illegal policy and denying me acces
                                                                           policy
 courts. (See Declaration attac hmen t# D - Marion Coun ty - legal library
                                                                           and
 3215 - @ 7. 18, 21. & see the definitions for " indigent", "legal advice"
                                                                              emen t
 "requ ired filings " limiting any 42 USC § 1983 suit to conditions of confin


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cases ONLY for currently housed issues.)

     The delay in filing of case# 1:17-CV -00476 -YY, was a direct result of these

defenda nts policy and actions. This caused direct harm to my suit against

Jackson county and allowed for statute of limitation argume nts to be made by

the defend ants. As of February 5, 2020 the court ruled to time barred some 15

months of my suit against Jackson county due to the statute of limitations

argume nts (Judicial notice - See court order [ ECF 141] for case# 1: 17-CV-

00476- YY) , 11 months of that denial to suit was directly due to Marion county

policies to not allow legal assistance and legal facilities use for conditions of

confine ment claims that occurred outside of their facility.

     The statute of limitations argume nts alone have now lasted over one and a

half years. This has harmed my ability to this litigate case as witness es

disappe ar, retire and/or forget due to the lapse of time that would not have been

so extended, if not for the defenda nts illegal actions in denying both access to

the legal library and legal assistance to file this valid legal pleading (See

Declaration attachm ent# D - Marion County legal library policy 3215@ 7, 18,21

- policy & definitions for indigent inmates barrs any access to the courts if

prisoner had a single dollar on their accoun t in the 6 months prior to request) .

      Due to the specific facts in the Jackson County case # 1: 17-CV-004 76-YY,

where the defend ants denied all exercise , phone, visits, (See Declaration
                                         4


                                                                                                    suit of valid
4 Jackson County, 1: 17-CV-004 76-YY- Jud icial notice - current ruling ECF 141 - dismissed partial

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                                                                                  g
Attach ment# S - Jackso n Count y Memo outlining it's uncon stitutio nal violatin
                                                                                     n
action s in practic e), I lost rights to substantial damag es . These acts by Jackso

county were uncon stitutio nal on their face, and these defend ant's action s and

policy of denyin g access to the courts for indige nt inmate s and 1983 suits not
                                                                            for
house d on , has harme d my claim for damag es that would have been allowed

11 month s of multiple uncon stitutio nal violatio ns that were clear on the face of

the record and valid .

     Defen dant Dunnb arr claimed in person to me that they were not required to

give me access to the legal library if I had an attorne y for ANY legal matter on
                                                                                 t
record , any reques t from defend ant Dunnb arr, no matter the reason for reques

of legal access (See Declaration attach ment #P - reques t legal books and
                                                                                   an
library time) , resulted in either denial or delay becau se record s showe d I had

attorne y for a case. I could not even repres ent mysel f as these defend ants

would not allow access to legal resour ces.



      My 2255 motion for case 1: 13-cr-0 0365 was accep ted even after being filed

 late, as the Gover nment did not argue agains t the late filing.                          The right to file

 this valid claim for ineffective assista nce of counse l was still harme d by the

 blanke t denial of right to file and to give legal assista nce in filing in the first
                                                                                           135 - declaration
   cl aims due statute of limitations. Plaintiff's supplied the court with proof with ECF
                                                                                       phone,  unconstitutional on the
   attach ments , See attachment Jackson County Memo denying exercise , visits
                                                                                Jackson  County  Jail during the spring
   face of the record. Th is memo ca me from a subpoena served upon the
                                                                      was  being pun ished continuo usly.
   of 2015 fo r case #1 :13-CR-00365-MC , to inquire why pla intiff

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place.

    The right to file a 1983 claim on case# 3:17-CV-00501-YY was denied

outright as this claim was not for my conditions of confinement at the Marion

county jail. If I had continued to be housed at the jail for additional time I would

have lost all rights to file this suit also due to the statute of limitations for filing .

The fact that I could file later in no way dismisses the fact that I was not allowed

to file due to policy at the jail.




Claim 2. Conditions of Confinement

A. Exercise :

Defendants:       Marion County, Jason Myers and Tad Larson , through their acts

and or omissions and both in their failure to apply ORS- 169.076 Standards for

loca l correctional facilities and/or applying unconstitutional jail policy and

procedures illegally and denied plaintiff adequate access to both Indoor and

Outdoor exercise, by not allowing such exercise time and not providing

adequate footwear to exercise safely without injury. (See Declaration Attachment

# H) These acts or omissions were atypical and significant hardships. They

were done with deliberate indifference to plaintiff constitutional rights and

 physical health . These policies and or acts were in violation of the 8th


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Amendment. The 4 and 14 amend ment standards apply to these actions as
                th     th



they were done to a "Detainee" and not a convicted person being housed at the

MCJ .



Supporting facts:



     From 12/16/ 2015 to 11/21/2016 I was confined to a< 50 square foot cell ,

with a bunk bed and one other detainee. (See Declaration attach ment# G )

This 50 sq .ft. cell size was not large enough to perform any type of exercise in

safely due to the sharp corners on the metal desk and the toilet. The total

actual open floor space was less then 16 sq. ft and that was cut in pieces around

the toilet and table.(See Declaration Attach ment# 0.1 & 0.2 - photo inside cell
                                                                                t
- Marion county detectives) No one is allowed to exerci se inside a cell withou

the approval of the other occup ant as it is such a close space and body odors

are offensive so attempted exercise within a cell can lead to an assault.

      Plaintiff was confined to this cell 22 .5 / 7, with a 30 minute time allowed for

supposed outdoo r exercise in the morning that consisted of a concrete area with

a ceiling open to the sky. There was anothe r 1 hour out of cell time in the

afternoon for showering , book excha nge etc. All meals were eaten on the beds

 in the cells. These exercise times were the "supposed " allowed out of cell time


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but did not happen in practice . In practice we were locked in our cells 24/7 for

3-4 or more days a each week. In practice we were not allowed to exercise out

doors at all because we were not issued any footwear besides shower shoes

that were dangerous to just walk in on the indoor polished tile floor or wet

polished outdoor concrete exposed to the sky. These shower sandals could not

be exercised in on such surfaces. In practice the on duty officers did not allow

any indoor exercising period , few officers even allowed slow walking around the

unit due to the loudness of the shower shoes on the tile floor. In practice , NO

exercise was allowed for the 11 months I was detained at the MCJ.

     I requested shoes so that I could do exercise or even just do a fast passed

walk out of doors when allowed , I was told that they did not offer shoes. I asked

for grievances for this because other jails issued or sold shoes on their

commissary and to my knowledge from a prisoner rights book, it was the law, IE

that shoes were a required item of clothing for prisoners (See note #2) . I was

denied any grievance forms because this was not a grievable issue according to

the officers on duty.

      As a result of this long term denial of exercise due to both denial to provide

adequate footwear (See Declaration attachm ent# H - evidence picture of

shower shoes) and denial to both adequate indoor and outdoor exercise

opportunities, I gained significant weight and had sever back pain from lying


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around on a bed 23 hrs a day. My muscles atrophied from this non-movement

and lack of exercise, which likely contributed to my eventual fall down the stairs.

Depression , due to weight gain , deteriorating physical health and a vitamin D

deficiency due to no sunlight all caused mental and emotional damage, constant

suicidal thoughts and further decline in general health . No one dared mention

such a state of mind as the result would be a stripping naked of all clothing and

bedding and placed into a cold cell for observation, kept awake for days on end

by the checking every 15 minutes, such treatment would turn any semi suicidal

person completely suicidal after such an experience . It was better to keep quiet.

B. Negligence - clothing/facility- Monell liability



Supporting facts:



     On arrival to the Marion county jail facility I was issued a pair of foam

shower shoes made by Bob Barker. (See Declaration attach ment# H - Evidence

picture of shower shoes) While these shoes may have been adequate for use

inside a shower with a sanded non-slick surface they were dangerous to wear

on a waxed and polished mirror like surface of the jails VC tile floors and stair

treads . (See Declaration attach ment's # N.1 - N.3 - Photo's of MCSO polished

 floor/stairs the exact same material) Marion County was negligent in issuing


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these type footwear. In the months of my stay at the jail , no fewer then 6

persons had fallen and seriously injured thems elves due to these dange rous

showe r shoes on this slick flooring. I had nearly fallen two times previously

when com ing down the stairs from a showe r and so knew to be very careful.

had written the county maintenance personnel multiple times about putting non-

slick strips on the stairs, they refused stating that the treads were non slick. I

had asked multiple officers about issuing safer shoes , they laughed. Two more

persons fell after these comm unicat ions at least one of which had to be

removed to the hospital by local emerg ency medical personnel. The jails

nursing staff regularly responded to these accidents .

     On about Novem ber 1 2016 I had just exited the downs tairs C-7/8 section
                         st




for showe rs and was heading up the stairs to return my towel and toiletries. At

about the 6 th or 7 step up from the bottom my wet showe r shoe slipped on the
                   th




stair tread and my foot slipped out of the showe r shoe. I fell backw ards and

tried to catch mysel f in a sitting position and ended up rolling completely

backwards in a somer sault, slamming my head into the stair rail upright and my

entire back into the individual stairs, ending with slamming my head into the

 concrete floor. This happened in front of dozen s of persons, not five foot from

 half a dozen persons sitting at the adjace nt tables. (See Declaration attach ment

 # A & B - witnes ses to incident requested from defend ants)


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                                                                           in
    Hitting my head, I lost all vision for a few moments and was paralyzed
                                                                            in
pain upon the floor. My head was ringing , my eyesight blurry, my rear ribs
                                                                         in
extreme pain and my entire lower back in shooting pain. I ended up being
                                                                                n't
bed nearly 24/7 for the next 3 weeks with little more then an aspirin . I could
                                                                            by the
get up to eat most days. Later this injury was re-injured or further injure

actions of defendants assaults described later on , which resulted in an

additional multiple weeks lying in bed in pain 24/7.
                                                                             to
     To date my back is still in pain on most days. Both my arms and legs go
                                                                           for very
sleep to the point of pain whenever I go to sleep . I can not sit or stand
                                                                        track at
long any day of the week . I can hardly walk more then a lap around the
                                                                       fall down
a time without my legs going numb. All of these issues arose after the

the stairs at the jail facility due to both the shoes they issued and the slick

unsafe stairs they refused to fix.
                                                                             tabs
     After my fall I once again "kyted " maintenance and suggested non-slick
                                                                           clearly
be put on the stairs - they replied ," the stairs are non-slick" which was

not the case as they are the same material as the shiny waxed floor. (See
                                                                             N.1 -
 Declaration Attac hmen t# M - kyte to facilit ies)( Declaration Attachments

 N.3)

        These defendants actions in issuing dangerous footwear for use on their
                                                                           refusing
 dangerously slick tile flooring is negligent. These defendants actions in


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to add simple safety precautions on their slick stairs also added to their

negligence in allowing injuries to occur within the facility. These falls were a

systematically occurring on a regular basis . These negligent actions were the

proximate cause of my injuries .



Claim 3. Failure to Protect/Assault



Defendants:      Marion County, Jason Myers and Tad Larson, Deputy Knospe ,

Deputy Straus and Deputy McGowan , through their acts and or omissions and

both in their failure to apply ORS- 169.076 - Standards for local correctional

facilities and/or applying unconstitutional jail policy and procedures illegally,

denied plaintiff protection from being assaulted by the Marion county defendants

in violation of both state and federal law. These acts or omissions were atypical

and significant hardships and meant to physically injure my person . They were

done with deliberate indifference to plaintiff constitutional rights and health.
                                                        th     th
These acts were in violation of the 8th Amendment. The 4 and 14

 amendment standards apply to these actions as they were done to a "Detainee"

 and not a convicted person being housed at the MCJ .




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Supporting facts:



     On the morn ing of November 21 ,2016, deputy Vasquez responded to a call

for help by another officer whom was assaulted . During this incident, deputy

Vasquez ordered me to the ground at taser point without incident. (See

Declaration Attach ment# I - Vasquez incident report ). Other backup responded

to the call including defendants McGowan , Knospe and Straus . Officer Knospe

applied handcuffs to plaintiff behind his back, belly laying on the floor. A few

minutes later McGowan came over to plaintiff and pulled / jerking me off the

floor, from behind , by my arms, from a sideways position , pulling and twisting my

back in the process. Then McGowan frog marched me over to a set of chairs

and slammed me into the chair, jamming arms up into and behind my back.

Both of these actions re-injured or aggravated an existing injury received three

weeks earl ier from a slip and fall down the stairs due to Marion Counties neglect

to fix slick stairs.

     Within a few minutes of these events I was marched roughly down to the

disciplinary unit by a number of officer including Knospe and Straus. At no time

was I in any way resisting or causing difficulties to the officers. This was all

 recorded on the jails camera's. Once in the disciplinary unit, defendants Knospe

 and Straus proceeded to tell me that I was going to be strip searched but before


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they did so they started to push me back and forth between the two of them ,

punching me in the ribs, kidney's on the sides of my stomach , around the head

to where my nose bled and to my arms as they were still handcuffed behind my

back. While they were doing this they were making comments , " you think you

can just assault an officer an get away with it without conseq uences ?".

      They then stripped searched me, took my bloody clothes and placed me in

a cold 60' cell without blankets or bedding. A brief time later McGowan came

and took pictures of my person and the various marks on my body. (See
                                                                                                    5
Declaration attachm ents# J.1 - J.3 -photo's taken by McGowan                                           )   McGowan

had not been present when I was assaulted by Knospe and Straus. Later I was

photographed in detail by the Marion County detectives. These photographs

detailed the injuries received from Knospe and Straus's assault as well as the

remaining bruises to the head and ribs sustained from my slip/fall down stairs.

(See Declaration attachm ent# K.1 - K.4 - photo's taken by Marion county

detectives). On November 23,2016 I was transferred to the Oregon Department

of Corrections at OSP, I was sent to the disciplinary unit. A few days after

arrival , while staff was removing me from my cell for shower, they noticed the

extreme bruising that had developed due to the assault by Knospe and Straus.

 The officer in charge , Officer Hannon , requested a camera be brought and

                                                                                                    refere nce were
 5 Notice to the court. All photograph s submitted here by declaration and attached to complaint by
   accepted into the trial court record for Marion County Case # 17CR06822


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pictures be taken of the bruises in order to both document and protect the staff

of the ODOC from injury allegations, (See Declaration attachm ent# F.1- F.4 -

ODOC pictures) .(see n. 5).

    As a result of these injuries caused by the assault by Knospe and Straus, I

was physically confined to a bed at the prison for almost two months, just barely

able to get out of bed for meals delivered through the door. I was seen by the

nurses and given what pain medication they could offer every two hours. Later

the ODOC took multiplex-rays of my lower back due to both numbness and

constant pain to my arms and legs. Currently my back has been in ever

increasing constant pain , I can not sit or stand for very long without numbness

and can but slowly walk. My sciatic nerve has now combined with the other pain,

all of which is stemming from the same exact lower back location injured by the

defendants. The doctor has recently told me that I should do nothing but lay on

my back as much as possible and do nothing else.




Claim 4. Medical neglect to serious medical need



Defendants:        Marion County, Jason Myers Cindy Gage and deputy Frieze,

through their acts and or omissions and both in their failure to apply ORS-


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169.076 - Standards for local correctional facilities and/or applying

unconstitutional jail policy and procedures illegally, denied plaintiff adequate

medical care for injuries sustained from falling down stairs. These acts or

omissions were atypical and significant hardships and meant to cause physical

suffering . They were done with deliberate indifference to plaintiff constitutional
                                                                            th
rights and health. These acts were in violation of the 8th Amendment. The 4

and 14th amendment standards apply to these actions as they were done to a

"Detainee" and not a convicted person being housed at the MCJ .



Supporting Facts :



     On or about the morning of November 1, 2016 , I had just exited the

downstairs shower stall and was heading back up to my cell to put away my
                                    th
towel and toiletries. At about the 6 or         r h   step up from the main floor my foot

slipped either on the stair or out of the issued plastic showers shoes. As my

hands were full I failed to grab onto the rail and ended up rolling backwards

down the stairs slamming both my back/ribs into the steps. At one complete

rotation the back right side of my head struck the upright metal handrail pole.

then rolled out into the tile floor striking my head again on the concrete floor

 hard enough to lose eyesight in a flash of light and pain . I was knocked


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senseless and remained on the floor curled on my side. This was in front of

some dozen person sitting at tables next to the stairs. Deputy Frieze ran over

and told me not to move as he called for the nurse Cindy Gage.(See Declaration

Attach ment# Q@ 11/01/2016 - report of incident) Defendant Gage came into

the unit with her trainee and walked over and looked down at me on the floor.

She asked if I was bleeding. She bent over, pulled up my shirt to glance at my

back. She stood up said she could give me some Tylenol for 5 days and an ice

pack, turned around and walked out. I couldn't get up off the floor or even walk

back up the stairs without assistance . My back and ribs were in extreme pain ,

something was separated .

     Deputy Frieze moved me to a downstairs cell on the bottom bunk. Later ,

when I was lying in bed with muscle spasms , defendant frieze refused to allow

the nurse to bring pain medication (Tylenol/Ibuprofen) to the cell door and

demanded that if I wanted the pain medication that I would have to go stand in

line and get it - which I could not do easily due to the extreme pain in my back.

(The staff often came to each cell door to give out medication). The staff would

not give me enough medication to where I could even get up out of bed . I had

to beg other inmates for their purchased pain relievers , in violation of the rules,

 as indigent inmates were only allowed a single pack of both Tylenol/Ibuprofen

 per week and not allowed to share anything with other inmates. County policy


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dictated that I had to live in constant excruciating pain for weeks on end as they

only allowed pain relievers to alleviate the pain for no more then two hours per

week.

    For the next few days I was not allowed to eat because the officer on duty

would not let my room mate (Forest Frost), get my food tray and bring it into the

cell . I could not get the food tray myself because the pain was so great that I

dare not even try to roll out of bed . This denial was done even though it was

common for other that were handicapped or in wheel chairs to have others get

their food trays for them as all meals were eaten in the cell anyway.

    Plaintiff pleaded with the defendants to please do something to look at his

back, something for the pain other then 3 Tylenol a day as my back felt as

perhaps his ribs were cracked or separated , defendants refused to look unless I

agreed to pay a $ 10.00 doctor visit fee to both nurse and doctor for an injury

caused by the defendants wet/dangerous stairs and slick shower shoes they

issued. At 5 days of Tylenol the defendants refused to give anymore and told

me that I could purchase some on the canteen - which I could not as I was

indigent at the time. I could get 2 packs per week without money. Even if I had

had money at the time I would have had to still lay around in pain for over a

week until I could purchase some. The defendants policies and actions caused

needless pain and suffering and weeks worth of missed meals due to not being


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able to get up for them .




Claim 5. First Amend ment Violation



Defendants:       Marion County, Tad Larson , Jason Myers Dunnbarr, Keefe

Commissary Network LLC, through their acts and or omissions and both in their

failure to apply ORS- 169.076 - Standards for local correctional facilities and/or

applying unconstitutional jail policy and procedures illegally, denied and or

restricted , 1). plaintiff's right to ," freedom of association " under the First

Amendment for harming his family relationships and 2). practice his free speech

through the mail unhampered and by law to both the courts, publisher and

fami ly. These acts were in violation of the laws against monopolies, 1st

Amendment, Equal protections for charging different prices to similarly situated

persons for paper and postage and for the blatant violation of U.S. Postal code
                                                                                th
for charging excessive postage in order to profit off of my free speech . The 4

and 14th amendment standards apply to these actions as they were done to a

"Detainee" and not a convicted person being housed at the MCJ .




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Supporting facts :



    1. After arrival to the Marion county jail on 12/16/2015 , I was told by Officer

Susse on 12/21/2015, that he had received an email from his superiors telling

him to inform me that I was not allowed to speak with or contact my children in

any way while at the jail , and that this was a direct order (See Declaration

Attachm ent# Q @ 12/21/2015) and if i violated it I would be placed into

disciplinary segregation. I was not told on what legal basis this threat was being

made. One of my three children was 19 at the time and I was still being told to

have no contact. I filed a grievance (See Declaration attachm ent# C -

Grievanc e form). The process took months to complete and get a final answer

on , no one could tell me WHY I could not legally speak or contact my children. I

was denied any other notice or process under the policy and procedures of the

MCSO to resolve this issue. I was given no due process in this matter. My

children did not know what had happened to their father as any mail to the

prison was not forwarded to me or returned , this no contact order caused

extreme anxiety in my children and permanently harmed my relations hip with

them due to the fact that they believed that it was my personal decision to stop

contacting them or that I was injured or had done something in prison . I missed

Christma s,New Years and birthdays for my children as well as Valentines, a


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yearly expectation for a father with three daughters. It took months to finally get

a letter from the MCJ commander telling me that he had looked into the issue

and could find no reason as to why I was not being allowed to contact my

children . His letter clearly stated that he could find not email on the matter and

he said I could write/call my children. By this time the harm to my relationship

with my three daughters had already been done. This harm was directly the

resu lt of these defendants actions.



    2. During my stay at the MCSO - correctional division facility I only had

money on my trust account on a few occasions for postage. During this time I

had both legal mailings and personal book publishing mailings to go outside the

jail facility. During this time I wrote two books, one that was 450 pages and the

other 825 pages . To make any mailings outside the jail I had to purchase both

paper and envelopes through the jails commissary system operated by Keefe

Commissary Network LLC , of which is under contract with Marion county with a

kickback of 15% for all commissary purchases . When I was indigent I was

charged .01/ per sheet of paper for a maximum of 5 sheets per week. When I

had money on my account I was charged .04/ per sheet of paper with a

maximum paper amount of 20 sheets per week. Standard rate postage at the

time was .54 per prepaid stamped envelope of which I was charged when I was


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indigent and 1.29 per prepaid stamped envelope when I had money on my

account. The facility also sold manila envelopes for mailing .

    My first book took over a month to leave the facility after I placed it into the

mailing system at the jail. Staff could not tell me why they held my mail for so

long . They then took my manila envelope to the post office and had them mail it

for the maximum amount they could charge , costing me $11 plus dollars for a

mailing I had been paying only $1.82 for for the years previous. I filed a

grievance on the excessive cost issue with no result. The delay in mailing my

manuscript out for a month caused a publishing due date to be missed and

harmed a relationship. When I attempted to mail out my second manuscript I

was flatly refused - (See Declaration attachm ent# L.1 - L.3 - kyte from

Dunnbarr, mail issues) I was told that only legal mail could be mailed out in the

manila envelopes - which was not a rule or policy stated anywhere in the facility.

I was told that I had to use the first class prepaid envelopes for personal use.

could not mail out 125 separate envelopes in order to mail out my entire

manuscript. I missed additional publishing deadlines.

     I was denied grievances on this issue of using manila envelopes as ,"

mailing items are provided for in commissary and thus not grievable"," county
                                                                          nd
mail policy is not grievable". I could not get a grievance form for this 2 mail

 issue as only an on duty officer can give out grievances and I could mail out my


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papers in regular non-manila envelopes. I wrote to the jail commander and was

denied even a reply.



    These defendants also chilled my first amendment rights by having a

system in place that was profiting from my writing by forcing me to purchase

prepaid envelopes at $1 .29 each when the same exact envelope at the Oregon

State Prison was sold by law at $.58 because the state is not allowed to profit on

an inmates personal or legal filings and mailings, which was exactly what Marion

County was and is still doing today (IE. Profiting on both communication outside

a jail facility and legal filings - in my case my manuscript). The same can be

said for the selling of regular writing paper for both personal and legal use.

Indigent inmates were sold paper at .01 per sheet , non- indigent at .04 per

sheet. Marion county was and is still profiting from all first amendment

communications allowed under the constitution. These prices are not just

monopolized for the prisoner but for family members whom place the money

onto an inmates account so that they can be written to . These defendants in

effect are charging a "Tax" on inmates whom can pay for mailing and writing

products while indigent persons pay a different price altogether. Jail policy

would not even allow simple extra blank pieces of paper to be mailed to in to me

along with a letter. There was no reasonable penological justification for such


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denial.. The only reason to deny blank paper was so that they could continue to

profit of the sell of their paper at 400% profit. They owned the monopoly on all

such First amendment allowed communication.



    While there is no constitutional right to pay cheap postage and paper rates,

there is a right of access to the courts, freedom of association and freedom of

being taxed or profited from by the government without representation - which

was the result of charging excessive postage on my book manuscripts writing

and mailings as well as hindering my ability to access the courts. The state

should not be profiting from my free speech. To me there would be no

difference then having been charged a fee to visit my family or write a letter to

the president. These defendants went out of their way to profit from my free

speech in every way they could.



                                             VII Relief



     Wherefore plaintiff requests that the court grant him relief, through a jury

trial , with the following sought awards :



     That the court award to me against all defendants jointly and severally, an


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amount that the jury seems fit and separately for each claim against them

described herein , for the violations of my constitutional rights of 1si, 4 \ 8 and
                                                                           1   th




14th amendments under the U.S. Constitution.

    The following amounts :



   1).       For the damages caused by the assault, injury and pain and suffering

         caused by defendants Straus, Knospe and McGowan , a sum certain

          amount equivalent 35 days spent in bed at ODOC due to injuries

          $10,600.00. For a punitive award, for the statutorily illegal actions of

          defendants Straus, Knospe and McGowan , (ORS 169.076 - no physical

          punishment)( Marion county policy 3205(14 )- in instituting their excessive

          use of force and assault against me, an amount of $5000.00 per

          individual.



   2).       For the damages caused by the negligence of Marion county in both

          issuing dangerous shower shoes and for not fixing the slick stairs, causing

          permanent back injury, an amount equal to $250 ,000.00. As a punitive

          award for not fixing the issue after multiple reported incidents $25 ,000.00.



    3).      For the damages caused by Marion County policy and procedures for


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         not allowing both indoor or outdoor exercise and not providing adequate

         footwear to be exercised in for over 330 days, which caused a recognized

         decline in both physical and mental health , muscle atrophy, 330 x

         $250.00=$82 ,500.00. As a punitive award for violating clearly established

         law with regards to exercise of inmates, $25,000.00. As a declaratory

         judgment I ask that the defendants be made to issue, sell or otherwise

         allow inmates to wear footwear that is appropriate and safe to exercise in.



  4 ).        For the damages of Marion County's policy in denial of legal access for

         any conditions of confinement matter not housed upon and for denial of

         legal assistance on both conditions of confinement claims and legal

         criminal matters not covered by assigned attorney, I request the following

         amounts for the following cases.



         a.     For case# 1:17-CV-00476-YY , loss of partial claim due to statute of

         limitations caused by denial of legal assistance and access to the courts

         and policy of not allowing 42USC§ 1983 filings for indigent or issues not

         housed on. $ 11 months loss= to 330 days X 250.00/ day for exercise

         denial = $82 ,500 .00. Other constitutional rights violations lost due to

         statute of limitations, access to the courts , visits, emergency medical $


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     125,000 .00.



     b. For case# Coos County Oregon , for case# 11 CR0581 , lost right to

     post conviction due statute of limitations ruling caused by Marion county

     policy and current practice in denying legal assistance. 365 days x 5 @ $

     250.00/day = $456 ,250.00



     c. For case# Jackson County Oregon, for case# 113373FE, lost right for

     post- conviction due to statute of limitations caused by Marion county

     policy. 356 days x10@ $250.00/day = $912 ,500.00 .



     d.     For cases 1:13-CR-00365-MC and 3:17-CV-00501-YY declaration of

     error in denying access to the courts for 42 USC§1983's not housed on ,

     agreement to post all of Marion county legal library policy and procedures

      3215 in each unit describing the requirements to access the library and

      provide copies of " Prisoners Litigation Manuel " to each housing unit. And

      change policy to address illegal denial of indigent court filings based upon

      a certain financial threshold along with allowing filings for ANY 1983 suit

      brought.




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  5).

        a.     For the 1st Amendment violation damages caused by the

        unconstitutional denial of contact between me and my children , " freedom

        of association" for over three months in violation of the first amendment

        and for the emotional stress and trauma caused to my relationships, an

        amount in the sum of $18 ,000.00 .



         b.    For the 1st Amendment violation in profiting from my writings by selling

         prepaid envelopes at a rate in violation of the U.S Postal law, and denying

         me adequate access to mailing my manuscripts outside of the prison and

         causing delay and missing of deadlines, an amount equal to $5000.00.



   6). For the pain and suffering caused by the denial to give adequate medical

         care and pain relief due to both practice and policy of Marion county, for

         three weeks confined to bed in pain at the Marion county jail , to the point

         of not being able to eat. The sum of $5000.00.



   7).        Grant plaintiff such other just and equitable relief as it may appear

         plaintiff is entitled , including but not limited to, all costs for filing, copies

         and postage , professional witness fee's and the costs of investigators.


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                                            Conclusion



    I make these claims and statements in this complaint on the knowledge

available to me at this time with respects to the named defendants and the facts

of wh ich I have stated herein and supported by my attached declaration

attachments. I know these statements can be made use as evidence under the

penalty of perjury.



Dated and Executed this 1!?/hday of February 2020 ,




Bradley W. Monical
#7803214
2605 State Street
Salem Oregon , 97310



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